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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                            for the
                                                     District of Colorado


                                                               )
                                                               )
                                                               )
         Brandon Walton                                        )
                            Plaintiff(s)                       )
                                v.                             )      Civil Action No.
                                                               )
        City and County of Denver, Colorado,                   )
                                                               )
        Casey Meyer, and                                       )
        Alexander Jamsa                                        )
                           Defendant(s)                        )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

        City and County of Denver, Colorado
        Denver Sheriff Department
        490 W. Colfax Ave.
        Denver, Colorado 80204

          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it)-or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                         CLERK OF COURT


Date:
                                                                                   Signature of Clerk or Deputy Clerk
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